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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NORTH DAKOTA

David Papenhausen,                             )
                                               )
                Plaintiff,                     )     ORDER
                                               )
        vs.                                    )
                                               )
ConocoPhillips Company, et al.,                )     Case No. 1:20-cv-115
                                               )
                Defendants.                    )


        On October 5, 2021, the parties contacted the court to request a continuance of trial. The

court GRANTS the request. The final pretrial conference set for April 4, 2022, shall be rescheduled

for August 30, 2022, at 9:00 AM by telephone. To participate, the parties should call (877) 810-

9415 and enter access code 8992581. The jury trial set for April 18, 2022, shall be rescheduled for

September 12, 2022, at 9:00 AM in Bismarck (Courtroom #2) before the undersigned. A four (4)

day trial is anticipated.

        IT IS SO ORDERED.

        Dated this 6th day of October, 2021.

                                                     /s/ Clare R. Hochhalter
                                                     Clare R. Hochhalter, Magistrate Judge
                                                     United States District Court
